Case 1-L1/-

B25C (Official Fonn 25C) (1 2/08

Inte Prime Six Inc., d/o/a Woodiand NYC

40104-cec DOC 54 Filed O4/éZo/l/ Entered O4ico/1f clissiood

UNITED STATES BANKRUPTCY COURT

Eastern District of New York
|
Case No, 117-40104-CEC —

 

|

Month:

March 2017

Line of Business: REST

IN ACCORDANCE WITH 4
PERJURY THAT I HAVE &

btor
Smal) Business Case under Chapter 11

SMALL BUSINESS . ONTHLY OPERATING REPORT

| Date filed: 04/27/2017
AURANT & BAR NAISC Code: 72251 1 - a
TITLE 28, SECTION 1746, GF ‘WHE UNITED STATES CODE, | DECLARE UNDER PENALTY OF

IXAMINED THE FOLLOWING SMALL BUSINESS MONTHLY OPERATING REPORT AND THE

 

 

 

 

ACCOMPANYING ATTACHMENTS AND, TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE,
CORRECT AND COMPLETE. |
”

RESPONSIBLE PARTY? Fg

Original Signature of Responsible Party

Akiva Ofshtein a

Printed Name of Responsible} Party

Questionnaire: (4/i questions to be answered on behalf of the debtor.) Yes No

|. IS THE BUSINESS STILL OPERATING? | wt 0

2. HAVE YOU PAID ALL YOUR BILLS ON TIME THIS MONTH? wh oO

3. DID YOU PAY YOUR|JEMPLOYEES ON TIME? | a oO

4. HAVE YOU DEPOSITED ALL THE RECEIPTS F ? R YOUR BUSINESS [INTO THE DIP ACCOUNT a o
THIS MONTH?

5. HAVE YOU FILED AUL OF YOUR TAX RETURNS AND PAID ALL OF YOUR TAXES -THIS wi Oo
MONTH

6. HAVE YOU TIMELY HHLED ALL OTHER REQUI ED GOVERNMENT FILINGS? wi oOo

7, HAVE YOU PAID ALL OF YOUR INSURANCE PREMIUMS THIS MONTH? wi Oo

8. DO YOU PLAN TO CONTINUE TO OPERATE T: BUSINESS NEXT MONTH? V7) Oo

9. ARE YOU CURRENT ON YOUR QUARTERLY F PAYMENT TO THE U.S. TRUSTEE? iw oO

10. HAVE YOU PAID ANYTHING TO YOUR ATTORNEY OR OTHER PROFESSIONALS THIS oO WI
MONTH? ’

tl. DID YOU HAVE ANY UNUSUAL OR SIGNIFICAWT UNANTICIPATED EXPENSES THIS o 4)
MONTII? :

12. HAS THE BUSINESS SOLD ANY GOODS OR PRCGVIDED SERVICES OR TRANSFERRED ANY oO v7
ASSETS TO ANY BUSINESS RELATED TO THE ipir IN ANY WAY?

13, DO YOU HAVE ANY BANK ACCOUNTS OPEN OTHER THAN THE DIP ACCOUNT? Ww a}

 
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Page 2

B 25C (Official Form 25C) (12/08)

14. HAVE YOU SOLD ANY ASSETS OTHER THAN INVENTORY THIS MONTH? oO Ww
15. DID ANY INSURANCE COMPANY CANCEL YOUR POLICY THIS MONTH? oO wi
16. HAVE YOU BORROWED MONEY FROM ANYONE THIS MONTH? Oo wi
17. HAS ANYONE MADE AN INVESTMENT IN YOUR BUSINESS THIS MONTH? Oo wi
18. HAVE YOU PAID ANY BILLS YOU OWED BEFORE YOU FILED BANKRUPTCY? | wi
TAXES
DO YOU HAVE ANY PAST DUE TAX RETURNS OR PAST DUE POST-PETITION TAX Oo wi
OBLIGATIONS?
IF YES, PLEASE PROVIDE A WRITTEN EXPLANATION INCLUDING WHEN SUCH RETURNS WILL
BE FILED, OR WHEN SUCH PAYMENTS WILL BE MADE AND THE SOURCE OF THE FUNDS FOR
THE PAYMENT.
(Exhibit A)
INCOME
PLEASE SEPARATELY LIST ALL OF THE INCOME YOU RECEIVED FOR THE MONTH. THE LIST
SHOULD INCLUDE ALL INCOME FROM CASH AND CREDIT TRANSACTIONS. (THE U.S. TRUSTEE
MAY WAIVE THIS REQUIREMENT.)
TOTAL INCOME $§ 199,725.71
SUMMARY OF CASH ON HAND
Cash on Hand at Start of Month $ 8,111.57
Cash on Hand at End of Month $ a -39,583,17
PLEASE PROVIDE THE TOTAL AMOUNT OF CASH CURRENTLY AVAILABLE TO YOU TOTAL  $ -39,583.17
(Exhibit B)
EXPENSES
PLEASE SEPARATELY LIST ALL EXPENSES PAID BY CASH OR BY CHECK FROM YOUR BANK
ACCOUNTS THIS MONTH. INCLUDE THE DATE PAID, WHO WAS PAID THE MONEY, THE
PURPOSE AND THE AMOUNT. (THE U.S. TRUSTEE MAY WAIVE THIS REQUIREMENT.)
TOTAL EXPENSES §¢ 267,711.53
(Exhibit C)
CASH PROFIT
INCOME FOR THE MONTH (TOTAL FROM EXHIBIT B) $ 199,725.71
EXPENSES FOR THE MONTH (TOTAL FROM EXHIBIT C) $ 267,711 53

(Subtract Line C from Line B) CASH PROFIT FOR THE MONTH -  $ -67 985.62
Case 1-1/-40104-cec DOC 54 Filed O4/Zo0/Lf Entered O4i2o/1f clissiod

Page 3

B 25C (Official Form 25C) (12/08)
UNPAID BILLS

PLEASE ATTACH A LIST OF ALL DEBTS (INCLUDING TAXES) WHICH YOU HAVE INCURRED
SINCE THE DATE YOU FILED BANKRUPTCY BUT HAVE NOT PAID. THE LIST MUST INCLUDE
THE DATE THE DEBT WAS INCURRED, WHO IS OWED THE MONEY, THE PURPOSE OF THE
DEBT AND WHEN THE DEBT IS DUE. (THE U.S. TRUSTEE MAY WAIVE THIS REQUIREMENT)

TOTAL PAYABLES $ 0.00
(Exhibit D)

MONEY OWED TO YOU

PLEASE ATTACH A LIST OF ALL AMOUNTS OWED TO YOU BY YOUR CUSTOMERS FOR WORK
YOU HAVE DONE OR THE MERCHANDISE YOU HAVE SOLD. YOU SHOULD INCLUDE WHO
OWES YOU MONEY, HOW MUCH IS OWED AND WHEN IS PAYMENT DUE. (THE U.S. TRUSTEE MAY
WAIVE THIS REQUIREMENT)

TOTAL RECEIVABLES $ 0.00
(Exhibit E)

BANKING INFORMATION

PLEASE ATTACH A COPY OF YOUR LATEST BANK STATEMENT FOR EVERY ACCOUNT YOU
HAVE AS OF THE DATE OF THIS FINANCIAL REPORT OR HAD DURING THE PERIOD COVERED
BY THIS REPORT.

(Exhibit F)
EMPLOYEES
NUMBER OF EMPLOYEES WHEN THE CASE WAS FILED? 46
NUMBER OF EMPLOYEES AS OF THE DATE OF THIS MONTHLY REPORT? - 53
PROFESSIONAL FEES
BANKRUPTCY RELATED:
PROFESSIONAL FEES RELATING TO THE BANKRUPTCY CASE PAID DURING THIS REPORTING
PERIOD? $ 0.00
TOTAL PROFESSIONAL FEES RELATING TO THE BANKRUPTCY CASE PAID SINCE THE FILING
OF THE CASE? $ 0.00
NON-BANKRUPTCY RELATED:
PROFESSIONAL FEES NOT RELATING TO THE BANKRUPTCY CASE PAID DURING THIS
REPORTING PERIOD? $ 0.00

TOTAL PROFESSIONAL FEES NOT RELATING TO THE BANKRUPTCY CASE PAID SINCE THE
FILING OF THE CASE? $ 0.00
Case 1-1/-40104-cec DOC 54 Filed O4/Zo0/Lf Entered O4i2o/1f clissiod

B 25C (Official Form 25C) (12/08)

PROJECTIONS

COMPARE YOUR ACTUAL INCOME AND EXPENSES TO THE PROJECTIONS FOR THE FIRST 180
DAYS OF YOUR CASE PROVIDED AT THE INITIAL DEBTOR INTERVIEW.

Projected Actual Difference
INCOME $ 1,650,000.00 $ So
EXPENSES $ 1,452,000.00 $ -
CASH PROFIT $ 198,000.00 $ — $

TOTAL PROJECTED INCOME FOR THE NEXT MONTH:
TOTAL PROJECTED EXPENSES FOR THE NEXT MONTH:
TOTAL PROJECTED CASH PROFIT FOR THE NEXT MONTH:

ADDITIONAL INFORMATION

$

$

Page 4

275,000.00

242,000.00

33,000.00

PLEASE ATTACH ALL FINANCIAL REPORTS INCLUDING AN INCOME STATEMENT AND BALANCE SHEET

WHICH YOU PREPARE INTERNALLY,
Case 1-1/-40104-cec DoC 54 Filed O4/Zo0/Lf Entered O4ico/1f clissiood

Prime Six Inc. Small Business Monthly Operating Report
March 2017
Footnote

The balance sheet is not part of this operating report, as information necessary to provide an accurate
balance is not yet available.
Case 1-1/-40104-cec DOC 54 Filed O4/Zo0/Lf Entered O4i2o/1f clissiod

11:48 AM Prime Six Inc DBA Woodland
04/28/17 Profit & Loss

Accrual Basis

March 2017

Ordinary Income/Expense
Income
Cash deposit
Sales
Transfer from checking

Total Income

Cost of Goods Sold
BAR
Beer
Joyce Beer Gas
Manhattan Beer
SKI Beer Corp
Union Beer

Total Beer

Beverage
Multi-Flow

Total Beverage

Hard Liquor
Empire Merchants
Southern Wine and Spirit Liquor

Total Hard Liquor
Total BAR

Food Purchases
ASTORIA FISH
Bindi
Eli's Bread
Golden Malted
Orel
Pat La Frieda
Seafood

Wallabout

Total Seafood
Total Food Purchases
Total COGS
Gross Profit

Expense
Bank Service Charges

Cleaning
Auto Chlor
Cleaning - Other

Total Cleaning

Computer and Internet Expenses
POS Fee
Web Design

Total Computer and Internet Expenses

Equipment lease
Fire Alarm

Page 1
Unaudited Statement

Mar 17

0.00
199,725.71
0.00

199,725.71

325.00
3,353.94
349.98
322.00

4,350.92

2,124.63
2,124.63

21,657.41
16,262.03

37,919.44
44,394.99

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1,186.00
4,655.96

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5,028.00
17,242.79

61,637.78
138,087.93

218.44

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382.00

1,104.82

472.50
2,100.00

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1,102.50
685.91
Case 1-1/-40104-cec DOC 54 Filed O4/Zo0/Lf Entered O4i2o/1f clissiod

 

 

11:48 AM Prime Six Inc DBA Woodland
04/28/17 Profit & Loss
Accrual Basis March 2017
Mar17
Insurance Expense
Disability Insurance -28.59
Insurance Expense - Other _ 7,633.34
Total Insurance Expense 7,604.75
Linen 1,567.38
Managment Expense 6,020.00
Merchant account Fee 2,478.09
NYC Corp Tax 1,875.00
NYS Corp Tax 1,000.00
Office Supplies
Ask My Accountant 8,486.03
Office Supplies - Other _ 8.64
Total Office Supplies 8,494.67
Outside Labor 1099
Charly- DJ 2,000.00
Event Planing _ 1,890.55
Total Outside Labor 1098 3,890.55
Payroll Expenses
Wages
Overtime 0.00
Wages - Other _ 74,209.09
Total Wages 74,209.09
Payroll Expenses - Other 0.00
Total Payroll Expenses 74,209.09
Professional Fees
ADP Weekly Payroll Charge 1,044.96
Total Professional Fees 4,044.96
Reconciliation Discrepancies 0.00
Rent Expense 15,827.52
Repairs and Maintenance 454.21
Restaurant Supplies
Amex Payment for P&é 6,500.00
Jetro 30,271.17
Restaurant Supplies - Other 7 1,074.42
Total Restaurant Supplies 37,845.59
Taxes Paid
Payroll Taxes
940 FUTA Tax 539.80
941 FICA Exp 10,480.74
NYS UI _ 8,483.32
Total! Payroll Taxes 19,503.86
Taxes Paid - Other _ 0.00
Total Taxes Paid 19,503.86
Transfer to new checking 0,00

Page 2
Unaudited Statement
Case 1-1/-40104-cec DOC 54 Filed O4/Zo0/Lf Entered O4i2o/1f clissiod

 

11:48 AM Prime Six Inc DBA Woodland
04/28/17 Profit & Loss
Accrual Basis March 2017
_ Mar 17 —
Utilities
ConEd 1,500.00
Time Warner Cable 1,775.01
Utilities - Other 1,309.02
Total Utilities 4,584.03
Total Expense — 192,083.87
Net Ordinary Income -53,995.94
Other Income/Expense
Other Expense
Accrued DIP Accounting Fees 2,633.34
Accrued DIP Legal Fees _ 11,356.34
Total Other Expense 13,989.68
Net Other Income -13,989.68
Net Income -67,985.62

 

Page 3
Unaudited Statement
Case 1-1/-40104-cec DOC 54 Filed O4/Zo0/Lf Entered O4i2o/1f clissiod

SIGNATURE BANK

565 Fifth Avenue, 12" Floor
New York, NY 10017

 

Statement Period

From March 01, 2017
To March 31, 2017
Page 1 of 9

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO
PRIME SIX INC. DBA WOODLAND 9-421
DEBTOR IN POSSESSION
CASE # 1°17 40104 CEC
15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214 999 See Back for Important Information
Primary Account: 1502734241 283

Wk iO OR RR Rk a ee
* PRIVACY NOTICE- FEDERAL LAW REQUIRES US TO TELL YOU HOW *
* WE COLLECT, SHARE AND PROTECT YOUR PERSONAL INFORMATION. *
* OUR PRIVACY POLICY HAS NOT CHANGED AND YOU MAY REVIEW OUR *
* POLICY AND PRACTICES WITH RESPECT TO YOUR PERSONAL *
* INFORMATION AT: *
* HTTPS: //WWW. SIGNATURENY . COM/ABOUT-US/PRIVACY-SECURITY/ *
* PRIVACY-NOTICE OR WE WILL MAIL YOU A FREE COPY UPON *
* REQUEST IF YOU CALL US AT 1-866-SIGLINE (1-866-744-5463) *
* *

Wor eo a ea a

 

BANK DEPOSIT ACCOUNTS
1502734241 BANKRUPTCY CHECKING 5,605.76 251,31

RELATIONSHIP TOTAL 251.31
Case 1-1 /-40104-Ccec

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PRIME SIX INC. DBA WOODLAND

9-421

DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2

Statement Period

From March 01, 2017
To March 31, 2017
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PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

Primary Account: 1502734241 283

5,605.76

BROOKLYN NY 11214 399
BANKRUPTCY CHECKING 1502734241
Summary
Previous Balance as of March O01, 2017
21 Credits
317 Debits
Ending Balance as of March 31, 2017
Deposits and Other Credits
Mar 02 TELEPHONE XFER CR
TELEPHONE TRANSFER FROM: 1502728225
Mar 06 TELEPHONE XFER CR
TELEPHONE TRANSFER FROM: 1502728225
Mar 09 TELEPHONE XFER CR
TELEPHONE TRANSFER FROM: 1502728225
Mar 09 TELEPHONE XFER CR
TELEPHONE TRANSFER FROM: 1502728225
Mar 13 DEPOSIT ref#
Mar 13 TELEPHONE XFER CR
TELEPHONE TRANSFER FROM: 1502728225
Mar 15 DEPOSIT ref#
Mar 15 TELEPHONE XFER CR
TELEPHONE TRANSFER FROM: 1502728225
Mar 20 TELEPHONE XFER CR
TELEPHONE TRANSFER FROM: 1502728225
Mar 21 TELEPHONE XFER CR
TELEPHONE TRANSFER FROM: 1502728225
Mar 23 ONLINE TRANSFER CR
ONLINE XFR FROM: 1502728225
Mar 24 TELEPHONE XFER CR
TELEPHONE TRANSFER FROM: 1502728225
Mar 27 TELEPHONE XFER CR
TELEPHONE TRANSFER FROM: 1502728225

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ONLINE TRANSFER CR

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BROOKLYN NY 11214
Date Description
ONLINE XFR FROM: 1502728225
Mar 28 TELEPHONE XFER CR
TELEPHONE TRANSFER FROM: 1502728225
Mar 28 ONLINE TRANSFER CR
ONLINE XFR FROM: 1502728225
Mar 29 DEPOSIT ref#
Mar 29 DEPOSIT
Mar 29 ONLINE TRANSFER CR
ONLINE XFR FROM: 1502728225
Mar 30 ONLINE TRANSFER CR
ONLINE XFR FROM: 1502728225
Mar 31 ONLINE TRANSFER CR
ONLINE XFR FROM: 1502728225

Case 1-1 /-40104-Ccec

Set

 

PRIME SIX INC. DBA WOODLAND
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC

Withdrawals and Other Debi

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AUTOMATED PAYMENT ck/ref no.
SWS OF AMERICA CORP PMT
AUTOMATED PAYMENT ck/ref no.
ADP TAX ADP TAX

ACH ck/ref no.
ADP TAX ADP TAX

OVERDRAFT FEE
AUTOMATED PAYMENT

ck/ref no,

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AUTOMATED PAYMENT ck/ref no.
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AUTOMATED PAYMENT ck/ref no.
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AUTOMATED PAYMENT ck/ref no,
ADP TAX ADP TAX

PRE-AUTHORIZED WD
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SIGNATURE BANK

9-421

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9952015
RZMTA 031409A01

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Statement Period

From March ol,
To March 31,
Page 3 of

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PRIVATE CLIENT GROUP 421

26 COURT STREET
BROOKLYN, NY 11242
SAL MONACO

See Back for Important Information

Primary Account:

1502734241

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Case 1-1 /-40104-Ccec

PRIME SIX INC. DBA WOODLAND
DEBTOR IN POSSESSION

CASE # 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214

AUTOMATED PAYMENT

ck/ref no.

SWS OF AMERICA CORP PMT
AUTOMATED PAYMENT ck/ref no.
ADP PAYROLL FEES ADP - FEES
ACH ck/ref no.
NYS DTF SALES TAX PAYMNT

TELEPHONE XFER DR

TELEPHONE TRANSFER TO: 1502728225

AUTOMATED PAYMENT ck/ref no.
ADP TAX ADP TAX
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RETURNED ITEM FEE
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SWS OF AMERICA

RETURNED ITEM FEE
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ck/ref no.
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ADP PAYROLL FEES ADP - FEES
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NYS DTF SALES TAX PAYMNT
AUTOMATED PAYMENT ck/ref no.
NYS DTF SALES RETRY PYMT
AUTOMATED PAYMENT ck/ref no,
TIME WARNER CABL CABLE PAY
AUTOMATED PAYMENT ck/ref no.
SWS OF AMERICA CORP PMT
AUTOMATED PAYMENT ck/ref no.
ADP TAX ADP TAX
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PRE-AUTHORIZED WD
RETURNED ITEM FEE
AUTOMATED PAYMENT
ADP PAYROLL FEES

ck/ref no.
ADP - FEES

SIGNATURE BANK

9-421

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To March 31, 2017
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PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

Primary Account: 1502734241 283

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Statement Period

From March 01, 2017
To March 31, 2017
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PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO
PRIME SIX INC. DBA WOODLAND 9-421
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214 999 See Back for Important Information
Primary Account: 1502734241 283
Checks by Serial Number oo” .
Mar Ol 7152 435. Mar 23 7232 703.45 0
Mar 31 7154 * 196, a er 28 7233 349.98
Mar 09 7160 * 294.86 “ Mar 27 7234 701.59"
Mar 01 7161 167.28 — ar 24 7235 382.00"
Mar 07 7169 * 520.00 @ 4 Mar 29 71236 291.007
Mar 02 7171 * 1,000.00 Mar 28 7238 * 887.370
Mar 07 7177 * 442.10 of Mar 16 7239 390.00
Mar 06 7179 * 401.98 @ Mar 20 7241 * 5,181.52/4
Mar 02 7181 * 203.16“ Mar 21 7243 * 215.704
Mar 02 7183 * 321.38. Mar 31 7245 * 195.00,
Mar 02 7185 * 198.56 May 28 7246 376.01%—
Mar O01 7190 * 442.81 © Mar 27 7247 1,481.00
Mar 09 7201 * 445.754, May 20 7248 350.00"
Mar 13 7202 566.88 Mar 21 7249 750.00 ~
Mar 13 7203 376.30 Mar 21 7250 444.00
Mar 13 7204 4,649.04¢ gto 22 7251 702.99%)
Mar 13 7205 422.80 Mar 21 7252 2,244.31,
Mar 13 7206 1,137.44 Mar 21 7253 510.00»
Mar 10 7207 223.62 Mar 24 7254 1,000.00—
Mar 13 7208 738.60 Mar 28 7255 552.50
Mar 22 7210 * 511.68 f- Mar 27 7257 * 494.11
Mar 30 7213 * 913.16 Wo Mar 28 7258 750.00%,
Mar 16 7214 554,58 Y, Mar 27 7259 350.00
Mar 13 7215 747.77 Yo Mar 28 7263 * 327.15
Mar 14 72168 * 1,633.64 Mar 29 7264 271.200.
Mar 16 7219 333.48 C. Mar 31 7265 65.00
Mar 14 7220 534,.21/0- Mar 28 7271 * 51.60
Mar 14 7221 220.160 Mar 28 7274 * 396.08 ay
Mar 21 7222 41.40% Mar 28 7276 * 2,175.85
Mar 13 7223 750,00 Mar 30 7280 * 780,85
Mar 13 7224 350.00%. Mar 30 7291 * 448,300
Mar 14 7225 2,629, 51” Mar 31 7292 247,854,
Mar 23 7226 500,00“ Mar 17 31617 * 1,565,850
Mar 22 7227 1,439.00 Mar 06 100001 * 409.65
Mar 24 7228 1,000, 00% ar 03 100002 300.93
Mar 20 7229 322.00% Mar 29 100003 281.2147
Mar 20 7230 159, 10% Mar 07 100004 461,49 %,
Mar 22 7231 726.997 Mar 02 100005 378.29%
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Statement Period

From March 01, 2017
To March 31, 2017
Page 6 of 9

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO
PRIME SIX INC. DBA WOODLAND 9-421
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214 999 See Back for Important Information
Primary Account: 1502734241 283
Serial Nbr Amount Date Serial Nbr Amount
100007 * 493.34 Mar 09 100048 273.50
100008 510.817. Mar 10 100049 435.00™
100009 280.547 Mar 09 100050 686.58
100011 * 316.377 Mar 09 100051 861.23
100012 496.06 Mar 10 100052 429.49
100013 583.70 oO Mar 13 100053 347.627
100014 510.026" Mar 09 100054 309,26
100015 486.347 Mar 10 100055 195.234
100016 496.2677 Mar 16 100057 * 451.37
100017 501,427 Mar 10 100058 463,02,
100018 546.07, Mar 31 100059 263,12
100019 417.2% Mar 17 100060 137.18”
100020 264.3%, Mar 13 100061 618.30° |
100021 120.7 Mar 13 100063 * 701,394 .
100022 293.037, Mar 09 100064 87.17 “
100023 201.09”, Mar 09 100065 388.30%
100024 293.85/, Mar 09 100066 602.10”
100025 311.057 Mar 13 100067 322.35”
100026 273.507, Mar 13 100068 18.577
100027 ais ie, Mar 14 100069 141.3077
100028 686.5747 Mar 13 100070 318.80
100029 738 Mar 09 100071 295.16”
100030 429.49 Mar 14 100072 354.447
100032 * 581.317 Mar 22 100073 206.237
100033 §45,.32 Mar 09 100074 164.02
100034 519,51 a Mar 13 100075 459,8 “
100035 268,397 Mar 13 100076 362,93
100036 701.407 Mar 10 100077 209,09
100037 372,68 Mar 14 100078 53.047,
100038 484,22~% Mar 23 100079 ie Non 2
100039 599.287 Mar 13 100080 493.60“
100040 442.22 Mar 13 100082 * 478.0807
100041 791.347 Mar 14 100083 266.9390/
100042 426.10 Mar 10 100084 333,19
100043 324.8 Mar 10 100086 * 280.204
100044 384.03”. Mar 13 100087 325.87
100045 277,.95KH Mar 13 100088 395.03-—~
100046 177.407 Mar 29 100089 ae hy
100047 254,37 Mar 14 100090 501.22
Case 1-1/-40104-cec DOC 54 Filed O4/Zo0/Lf Entered O4i2o/1f clissiod

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Statement Period

From March Ol, 2017
To March 31, 2017
Page 7 of 9

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

PRIME SIX INC. DBA WOODLAND 9-421

DEBTOR IN POSSESSION

CASE # 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY 11214 999 See Back for Important Information

Primary Account: 1502734241 283

Date Serial Nbr Amount ee Date Serial Nbr Amount
Mar 10 100091 617.41 Mar 21 100132 467.6240
Mar 09 100092 363.970 Mar 17 100134 * 433.94/.
Mar 09 100093 465,947 Mar 21 100135 255.64
Mar 13 100094 672.907 Mar 17 100137 * 156.52y
Mar 10 100095 588.637 Mar 17 100138 462.80 c
Mar 28 100096 497.397 Mar 20 100139 376.89 c
Mar 13 100097 459,55” Mar 29 100140 294.610
Mar 09 100098 320,047 Mar 22 100141 435.77
Mar 24 100099 41.93% Mar 17 100142 411.40
Mar 10 100100 123.277 Mar 16 100143 410,377.
Mar 16 100101 707,14 Mar 20 100144 309.74
Mar 21 100102 435.00-—~ Mar 21 100145 562.567
Mar 16 100103 686.56% Mar 16 100146 446.7 /
Mar 16 100104 803,197 Mar 20 100147 342,47.
Mar 16 100105 429,49. Mar 21 100148 403.03
Mar 28 100106 280.69. Mar 16 100149 264,97
Mar 17 100107 342.177. Mar 24 100150 203,137
Mar 20 100108 181.6 Mar 17 100151 130,147
Mar 17 100109 246.10” Mar 24 100152 297,257,
Mar 31 100110 192.93 Mar 23 100153 178,60
Mar 21 100111 457.917, Mar 23 100154 136,237
Mar 16 100112 493.397 Mar 23 100155 369,85”
Mar 31 100113 330.68 Mar 22 100156 408,85
Mar 22 100114 187.89 Mar 28 100157 337.787
Mar 17 100115 591.71 Mar 23 100158 447,97
Mar 23 100116 701.4% Mar 28 100159 182,797
Mar 17 100117 367.524 Mar 28 100161 * 403,59
Mar 16 100118 s71.707 Mar 29 100162 228,734
Mar 16 100119 613.347, Mar 28 100163 470,69
Mar 16 100120 694.16 Mar 27 100164 577,29
Mar 17 100122 * 540.07 Mar 30 100165 413.717
Mar 21 100123 383.38 a Mar 24 100166 415,07
Mar 16 100124 421.81 Mar 28 100167 332.997
Mar 17 100125 149,867 Mar 27 100168 475,04:
Mar 21 100126 145.03 a Mar 28 100169 101,067
Mar 22 100127 253,37") Mar 28 100170 58,09
Mar 16 100128 246,93" Mar 28 100171 394,78 YY
Mar 17 100129 175,13 Mar 28 100173 * 409,45 Yv

Mar 17 100131 * 225,73/ Mar 27 100174 237,26
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PRIME SIX INC. DBA WOODLAND

DEBTOR IN POSSESSION

CASE # 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214 999

9-421

Amount /~ Date
124,92 "Mar 23

100175 7 100203
100176 235.16 Mar 23 100204
100177 231,38, Mar 24 100207
100178 273.5 - Mar 23 100208
100179 435,00 Mar 22 100210
100180 686,58“ Mar 24 100211
100181 803.18,“ Mar 30 100212
100182 429,49 ~ Mar 30 100220
100183 337.947 Mar 30 100225
100184 352.557 Mar 30 100228
100185 197.36” Mar 31 100230
100186 317.88” Mar 31 100231
100187 531.627 Mar 30 100233
100188 611.14 Mar 30 100234
100190 * 347.7 wr Mar 29 100235
100191 511.95 Mar 31 100239
100192 234.737 Mar 30 100242
100193 135.02” Mar 30 100243
100194 558.9 Mar 30 100245
100196 * 546.817 Mar 30 100248
100197 701.40, Mar 30 100255
100198 97.73 Mar 30 100256
100199 480.037 Mar 30 100258
100200 690.747 Mar 31 100263
100201 327.86 Mar 31 100266
100202 635.83 %

* Indicates break in check sequence

Serial Nbr

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Statement Period

From March 01, 2017
To March 31, 2017
Page 8 of 9

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

Primary Account: 1502734241 283

Amount

525.72 7

424,95
341.4607,
138.86
195.3
260.34~
477,14 -
488.45
438.84
192.24f/
226.88
273.5077,
686.57
803.187.
429,49,
230.984
455.49
370.314.
471.19
471.164,
571.607
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130.60 “/

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Statement Period

From March 01, 2017
To March 31, 2017
Page 9 of 9

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO
PRIME SIX INC. DBA WOODLAND 9-421
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214 999 See Back for Important Information
Primary Account: 1502734241 283
Daily Balances
Feb 28 5,605.76 Mar 16 6,608.94
Mar 01 92,92 Mar 17 462.10
Mar 02 9,073.41 Mar 20 238,09
Mar 03 5,369.88 Mar 21 23,522.51
Mar 06 14,283.86 Mar 22 2,910.00
Mar 07 12,358.85 Mar 23 583.18
Mar 08 2,392.60 Mar 24 262.73
Mar 09 4,525.77 Mar 27 351.93
Mar 10 .37 Mar 28 11,116.73
Mar 13 34,085.32 Mar 29 22,348.98
Mar 14 14,255.47 Mar 30 559.42
Mar 15 15,128.20 Mar 31 251.31

Rates for this statement period - Overdraft
Mar 16, 2017 13.750000 %
Mar 01, 2017 13.500000 %
Case 1-1 /-40104-Cec

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P.O. Box 4838, Grand Central Station

New York, New York 10163-4838

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PRIME SIX INC. DBA WOODLAND

DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY 11214

THE FOLLOWING ITEMS(S) WERE PRESENTED TO US TODAY FOR PAYMENT.
AN INSUFFICIENT OR UNAVAILABLE BALANCE IN YOUR ACCOUNT.
AND ASSESSED A SERVICE FEE AS INDICATED BELOW.

1-866-SIGLINE, IF YOU HAVE ANY QUESTIONS.

ACCOUNT NBR BALANCE

1502734241 4,011.31-

PRIME SIX INC. DBA WOODLAND
DEBTOR IN POSSESSION

CASE # 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214

DATE OF NOTICE 03/02/17

SERVICE FEB CHECK NBR

0.00

7152
7161
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SIGNATURE BANK

565 FIFTH AVENUE

NEW YORK,

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THERE WAS
WE PAID THE ITEM(S)
PLEASE CALL TOLL-FREE,

AMOUNT

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DATE OF NOTICE
03/02/17

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SIGNATURE BANK

Statement Period

From March 01, 2017
To March 31, 2017
Page 11 of 14

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

PRIME SIX INC, 9-421
1723 E 12TH ST, 4TH FLOOR
BROOKLYN NY 11229 999
See Back for Important Information
Primary Account: 1502728225 42
Mar 29 ACH DEPOSIT ek/ref no. 606021 832.63,
MERCH SVC BKCRD DEP 899000003276837 a
Mar 29 ACH DEPOSIT ck/ref no. 606018 1,089.27
MERCH SVC BKCRD DEP 899000003276837
Mar 30 ACH DEPOSIT ck/ref no, 678437 154.08 a
MERCH SVC BKCRD DEP 899000003276837
Mar 30 ACH DEPOSIT ck/ref no. 678434 182.65 a
MERCH SVC BKCRD DEP 899000003276837
Mar 30 ACH DEPOSIT ck/ref no. 678436 423,29
MERCH SVC BKCRD DEP 899000003276837
Mar 30 ACH DEPOSIT ck/ref no, 678435 5a. 7A
MERCH SVC BKCRD DEP 899000003276837
Mar 30 ACH DEPOSIT ck/ref no. 678438 1,999.01 a
MERCH SVC BKCRD DEP 899000003276837
Mar 31 ACH DEPOSIT ck/ref no, 754224 198.40 a
MERCH SVC BKCRD DEP 899000003276837 pe
Mar 31 ACH DEPOSIT ck/ref no. 754222 341,02
MERCH SVC BKCRD DEP 899000003276837
Mar 31 ACH DEPOSIT ck/ref no. 754225 570.42.
MERCH SVC BKCRD DEP 899000003276837 i
Mar 31 ACH DEPOSIT ck/ref no, 754223 166,16
MERCH SVC BKCRD DEP 899000003276837
Mar 31 ACH DEPOSIT ck/ref no, 754226 1,208.1
MERCH SVC BKCRD DEP 899000003276837
Withdrawals and Other Debits _
Mar 02 TELEPHONE XFER DR 20,000.00 o
TELEPHONE TRANSFER TO: 1502734241
Mar 02 AUTOMATED PAYMENT ck/ref no. 9322083 291.62 “
MERCH SVC BKCRD FEES 899000003276837
Mar 02 AUTOMATED PAYMENT ck/ref no, 9359557 1,633.13
TRASHBILLING.COM 59320 (0) 7593200017590 a
Mar 02 AUTOMATED PAYMENT ck/ref no. 9356730 4,000.00
NYS DTF SALES TAX PAYMNT 000000016432089
Mar 03 AUTOMATED PAYMENT ck/ref no. 9453233 127.26
MERCHANT BANKCD DEPOSIT 267017826889 A
Mar 06 TELEPHONE XFER DR 15,000.00
TELEPHONE TRANSFER TO: 1502734241
Mar 06 AUTOMATED PAYMENT ck/ref no. 9513032 2,000.00 ~~
AMEX EPAYMENT ACH PMT M4976
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Case 1-1 /-40104-Ccec

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SIGNATURE BANK

PRIME SIX INC. 9-421
1723 E 12TH ST, 4TH FLOOR
BROOKLYN NY 11229 999
AUTOMATED PAYMENT ck/ref no, 9586255
NYS DTF SALES TAX PAYMNT 000000016599161
AUTOMATED PAYMENT ck/ref no. 9678017
EMPIREMERCHANTS INVOICE (S) 7492484
TELEPHONE XFER DR
TELEPHONE TRANSFER TO: 1502734241
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AUTOMATED PAYMENT ck/ref no, 8358
MERCHANT BANKCD DEPOSIT 267017826889
AUTOMATED PAYMENT ck/ref no. 9987892
AMEX EPAYMENT ACH PMT W7228
AUTOMATED PAYMENT ck/ref no, 117334
NYS DTF CT TAX PAYMNT 000000017323066
AUTOMATED PAYMENT ck/ref no. 125924
NYC DEPT OF FINA TAXPAYMENT 2047996928
AUTOMATED PAYMENT ck/ref no. 151927
EMPTREMERCHANTS INVOICE (S) 4557458
TELEPHONE XFER DR
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AUTOMATED PAYMENT ck/ref no. 188159
MERCH SVC BKCRD DEP 899000003276837
AUTOMATED PAYMENT ck/ref no. 189790
AMEX EPAYMENT ACH PMT M8424
TELEPHONE XFER DR
TELEPHONE TRANSFER TO: 1502734241
AUTOMATED PAYMENT ck/ref no. 246447
SUPER PC SYSTEMS PURCHASE 37337709
ONLINE TRANSFER DR
ONLINE XFR TO: 1502734241
TELEPHONE XFER DR
TELEPHONE TRANSFER TO: 1502734241
AUTOMATED PAYMENT ck/ref no. 438255
EMPIREMERCHANTS INVOICE (S) 6473406
TELEPHONE XFER DR
TELEPHONE TRANSFER TO: 1502734241

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Statement Period

From March 01, 2017
To March 31, 2017
Page 12 of 14

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

Primary Account: 1502728225 42
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PRIME SIX INC. 9-421
1723 E 12TH ST, 4TH FLOOR
BROOKLYN NY 11229 999

Date Description
Mar 27 ONLINE TRANSFER DR

ONLINE XFR TO: 1502734241
Mar 28 TELEPHONE XFER DR

TRLEPHONE TRANSFER TO: 1502734241
Mar 28 ONLINE TRANSFER DR

ONLINE XFR TO: 1502734241
Mar 28 AUTOMATED PAYMENT ck/ref no. 545414

AMEX EPAYMENT ACH PMT W9510
Mar 29 ONLINE TRANSFER DR

ONLINE XFR TO: 1502734241
Mar 30 ONLINE TRANSFER DR

ONLINE XFR TO: 1502734241
Mar 31 ONLINE TRANSFER DR

ONLINE XFR TO: 1502734241
Mar 31 AUTOMATED PAYMENT ck/ref no. 753401

EMP IREMERCHANTS INVOICE (8) 7820166
Mar 31 OD Finance Charge
Mar 31 Service Charge
Checks by Serial Number fe
Mar 02 6684 1,309.02 Mar 02 6810
Mar 08 6746 * 1,074.42 Mar 01 6811
Mar 07 6747 a2 nv 7 Mar 02 6812
Mar 06 6748 416.19 Mar 06 6818 *
Mar 06 6749 73069 Mar 14 6819
Mar 02 6750 572.50 “ Mar 06 6820
Mar 24 6751 65.00 Mar 09 6822 *
Mar 03 6752 280.00 “Mar 10 6823
Mar 06 6777 * a ae 07 6824
Mar 02 6784 * Ges aoe” Mae ov 6825
Mar 01 6791 * 2,546.22 — Mar 09 6826
Mar 09 6792 603,29¢° Mar 03 6928 *
Mar 08 6793 202.00 Mar 06 6829
Mar 02 6794 163.157 Mar 06 6830
Mar Ol 6795 679,667 Mar 07 6831
Mar 01 6806 * m1, 0051, 00577 Mar 07 6832
Mar 02 6807 m2 Mar 07 6833
Mar 02 6808 3,528.00 Mar 06 50208 *
Mar 03 6R09 708.00 Mar 06 50351 *

Primary Account:

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Statement Period

From March 01, 2017
To March 31, 2017
Page 13 of 14

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

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PRIME SIX INC. 9-421
1723 E 12TH ST, 4TH FLOOR
BROOKLYN NY 11229 999
Serial Nbr Amount ee Date
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50512 * 476.11 4 Mar 07
* Indicates break in check sequence
43,294.23 Mar 17
40,929,89 Mar 20
8,635.26 Mar 21
5,387.31 Mar 22
13,662.97 Mar 23
21,529.57 Mar 24
13,446.35 Mar 27
975.86- Mar 28
4,033,88 Mar 29
9,435.08 Mar 30
26,877.01 Mar 31
1,599.97

Rates for this statement period - Overdraft
Mar 16,
Mar 01,

2017
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Primary Account:

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Statement Period

From March 01, 2017
To March 31, 2017
Page 14 of 14

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

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1502728225 42
Amount
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SIGNATURE BANK

565 Fifth Avenue, 12" Floor
New York, NY 10017

 

Statement Period

From March 01, 2017
To March 31, 2017
Page 1 of 14

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

PRIME SIX INC, 9-421
1723 E 12TH ST, 4TH FLOOR
BROOKLYN NY 11229 999

See Back for Important Information

Primary Account: 1502728225 42

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* PRIVACY NOTICE- FEDERAL LAW REQUIRES US TO TELL YOU HOW *
* WE COLLECT, SHARE AND PROTECT YOUR PERSONAL INFORMATION. *
* OUR PRIVACY POLICY HAS NOT CHANGED AND YOU MAY REVIEW OUR *
* POLICY AND PRACTICES WITH RESPECT TO YOUR PERSONAL 7
* INFORMATION AT: *
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PRIVACY-NOTICE OR WE WILL MAIL YOU A FREE COPY UPON
REQUEST IF YOU CALL US AT 1-866-SIGLINE (1-866-744-5463)

WRK a aK RRR EKA

 

BANK DEPOSIT ACCOUNTS
1502728225 MONOGRAM CHECKING 43,294,23 6,965.89-

RELATIONSHIP TOTAL 6,965.89-
Case 1-1 /-40104-Ccec

SIGNATURE BANK

PRIME SIX INC.
1723 E 12TH ST,
BROOKLYN NY 112

MONOGRAM CHECKING

Summary

Previous Balance as of March
184 Credits
79 Debits

Ending Balance as of March

Deposits and Other Credits
Mar 01 ACH DEPOSIT

MERCH SVC
Mar 01 ACH DEPOSIT
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9-421
4TH FLOOR
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1502728225
01, 2017
31, 2017
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BKCRD DEP 899000003276837
ck/ref no. 9307837
BKCRD DEP 899000003276837
ck/ref no. 9307836
BKCRD DEP 899000003276837
ck/ref no. 9307840
BKCRD DEP 899000003276837
ck/ref no. 9307841
BKCRD DEP 899000003276837
ck/ref no. 9372456
BKCRD DEP 899000003276837
ck/ref no. 9372457
BKCRD DEP 899000003276837
ck/ref no. 9372458
BKCRD DEP 899000003276837
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BKCRD DEP 899000003276837
ek/ref no. 9372460
BKCRD DEP 899000003276837
ck/ref no. 9466345
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ck/ref no, 9466347
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Statement Period

From March 01, 2017
To March 31, 2017
Page 2 of 14

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

Primary Account: 1502728225 42

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304,241,48

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PRIME SIX INC,

1723 E 12TH ST,

BROOKLYN NY

ACH DEPOSIT
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Statement Period

From March O01, 2017
To March 31, 2017
Page 3 of 14

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

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See Back for Important Information
Primary Account: 1502728225 42

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Statement Period

From March O1, 2017
To March 31, 2017
Page 4 of 14

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

PRIME SIX INC. 9-421
1723 E 12TH ST, 4TH FLOOR
BROOKLYN NY 11229 999
See Back for Important Information
Primary Account: 1502728225 42
Mar 06 ACH DEPOSIT ck/ref no, 9542877 2,796.77 |
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Mar 06 ACH DEPOSIT ck/ref no. 9542893 2,866.43 a
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Mar 06 ACH DEPOSIT ck/ref no. 9542885 3,664,29——
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Mar 06 ACH DEPOSIT ck/ref no. 9542691 4,121.49
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Mar 07 ACH DEPOSIT ek/ref no. 9607122 965.82 a“
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Mar 07 ACH DEPOSIT ck/ref no, 9607127 1,051.64
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Mar 07 ACH DEPOSIT ck/ref no. 9607123 1,382.64
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Mar 07 ACH DEPOSIT ck/ref no. 9607126 1,563.31
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Mar 07 ACH DEPOSIT ek/ref no, 9607124 1,786.26,
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Mar 07 ACH DEPOSIT ck/ref no. 9607129 2,636.12
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Mar 07 ACH DEPOSIT ck/ref no. 9607128 2,644,45 So
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Mar 07 ACH DEPOSIT ck/ref no. 9607125 3,435.40
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Mar 08 ACH DEPOSIT ck/ref no. 9676502 81.77 Lf
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Mar 08 ACH DEPOSIT ck/ref no. 9676503 154.95 oO
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Mar 08 ACH DEPOSIT ck/ref no. 9676501 197.80 a
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Mar 08 ACH DEPOSIT ck/ref no. 9676504 284.30
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Mar 08 ACH DEPOSIT ck/ref no. 9676505 490.44
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1723 E 12TH ST, 4TH FLOOR

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Statement Period

From March 01, 2017
To March 31, 2017
Page 5 of 14

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

Primary Account: 1502728225
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PRIME SIX INC,
1723 E 12TH ST, 4TH FLOOR

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PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

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Statement Period

From March 01,
To March 31,
Page 7 of 14

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PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242
SAL MONACO

See Back for Important Information

Primary Account:

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Primary Account: 1502728225

Statement Period

From March 01, 2017
To March 31, 2017
Page 8 of 14

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

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Case 1-1 /-40104-Ccec

SIGNATURE BANK

PRIME SIX INC,
1723 E 12TH ST, 4TH FLOOR

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Statement Period

From March O01, 2017
To March 31, 2017
Page 9 of 14

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

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See Back for Important Information

Primary Account: 1502728225 42

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PRIME SIX INC.
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Statement Period

From March 01, 2017
To March 31, 2017
Page 10 of 14

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

Primary Account: 1502728225 42

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2,737.21

3,076.96

3,163.42

3,986.58

4,527.31

5,158.32

469.50

1,032.98

1,171.71

1,182.62

2,655.87

2,796.38

3,226.28

3,332.80

3,950.94

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